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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


IN RE: MOVEIT CUSTOMER DATA                    MDL No. 1:23-md-03083-ADB
SECURITY BREACH LITIGATION

This Document Relates To:

Christopher Kearns v. Progress Software
Corporation and Paycom Payroll, LLC, et al.,
No. 1:24-cv-11368-ADB


 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF EMERGENCY MOTION
FOR THE COURT TO ISSUE A SHOW CAUSE ORDER REGARDING THE FAILURE
OF DEFENDANT PAYCOM PAYROLL, LLC, ORRICK, HERRINGTON & SUTCLIFFE
LLP, AND ATTORNEY WILLIAM B. FEDERMAN TO COMPLY WITH THE COURT’S
                    CASE MANAGEMENT ORDERS
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                                   I.      INTRODUCTION

       Plaintiff Christopher Kearns (“Movant”),1 hereby moves this Court for an order to show

cause directed to Defendant Paycom Payroll, LLC (“Paycom”); the Orrick law firm, Paycom’s

counsel; and attorney William B. Federman, requiring them to show cause regarding why the Court

should not hold them to account for their conduct that is in willful violation of MDL Order Nos.

3, 4 and 10, as described herein. See ECF No. 132 (“MDL Order No. 3”); ECF No. 259 (“MDL

Order No. 4”); and ECF No. 834 (“MDL Order No. 10”).3


   1
      Movant, the named plaintiff in a class action pending in the MDL (Kearns v. Progress
Software Corp., No. 1:24-cv-11368-ADB (D. Mass.) (filed May 23, 2024) (the “Kearns Action”))
wherein Paycom is a defendant, is represented by court-appointed lead counsel in this MDL (“Lead
Counsel”). See MDL Order No. 8, In re MOVEit Customer Data Sec. Breach Litig., No. 23-md-
03083-ADB (D. Mass. Jan. 19, 2024), ECF No. 649 (appointing lead counsel). Paycom is
represented by counsel from the law firm Orrick, Herrington & Sutcliffe LLP (“Orrick”). The
Johnson Plaintiffs are represented by William B. Federman of Federman & Sherwood.
   2
     Unless otherwise stated, citations to “ECF” numbers refer to In re MOVEit Customer Data
Sec. Breach Litig., No. 1:23-md-03083-ADB (D. Mass.).
   3
       Kearns filed his MDL data breach claim against Paycom on May 23, 2024. In mid-July
Orrick alleged for the first time—by way of e-mails to Lead counsel—that it believes Kearns is not
a proper MDL plaintiff because Paycom never sent him a data breach notice letter, arguing that
therefore he was not a victim of the Paycom MOVEit breach. In order to fulfill their duty of candor
to the Court, Counsel spoke with Mr. Kearns, and he is certain he previously received a notice by
mail or e-mail that his personal information had been provided to Paycom and had been
compromised as a result of the MOVEit breach, although he does not recall if the notice came
directly from Paycom or from another entity. Accordingly, Lead Counsel believe Kearns has
standing to move for the relief requested herein. However, during a final August 8th meet-and-
confer, Orrick asked Lead Counsel to accept their factual challenge to Mr. Kearns’ standing,
providing counsel with a purported “declaration” contesting Mr. Kearns standing after their August
8th meet-and-confer. Orrick simply asking Lead Counsel to “take our word for it” is not how the
process is intended to work. Because Paycom never filed a motion challenging Kearns standing
with the Court, there is no factual record for the Court to review, making it is impossible for the
Court to “consider the allegations by both parties to resolve the factual disputes.” Umuoji
Improvement Union (N. Am.), Inc. v. Umuoji Improvement Union (N. Am.), Inc., 537 F. Supp. 3d
79, 88 (D. Mass. 2021). However, for purposes of this Motion, the dispute regarding Mr. Kearns’
standing is irrelevant because, assuming arguendo he lacks standing, Lead Counsel is authorized
to file this motion on their own to protect Class member claims pending in the MDL and to request
that this Court enforce its own Orders against both Orrick and Federman. Additionally, as
explained herein, this Court has the constitutional authority to ensure that its Orders are obeyed.



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        On August 22, 2023, Mr. Federman filed a class action in Oklahoma state court on behalf

of a national class alleging harm resulting from the MOVEit data breach. See Johnson v. Paycom

Payroll, LLC, No. CJ-2023-4763 (Dist. Ct. Okla. Cnty. Aug. 22, 2023) (the “Johnson Action”).

On July 12, 2024, Mr. Federman filed an Unopposed Motion in Oklahoma state court seeking

preliminary approval of a purported class action settlement on behalf of Paycom and the Johnson

Plaintiffs4 (together, the “Settling Parties”). See Exhibit 15 (“Johnson Mot. for Prelim. Approval”);

Exhibit 2 (Proposed “Paycom Settlement” or “Settlement Agreement”). Despite the fact that this

Court entered two separate Orders (MDL Orders No. 3 and 4) requiring Orrick and Federman to

disclose all related state court cases, they never disclosed the Johnson Action to this Court. See

MDL Order No. 3 (entered October 30, 2013) and MDL Order No. 4 (entered December 1, 2013).

Lead Counsel did not learn about the existence of the Johnson Action until on or about April 24,

2024, when Orrick disclosed it to Plaintiffs’ State-Federal Liaison Counsel and Liaison and

Coordinating Counsel who then included it in a list of related state court cases. See ECF No. 873-

1. As if delaying disclosure of the Johnson Action for months after this Court ordered counsel to

disclose all state court cases was not bad enough, even more troubling is the fact that the Settling

Parties never disclosed that they were engaged in months-long settlement discussions and they

never sought the input of Lead Counsel while negotiating the proposed Paycom Settlement. As

explained more fully herein, Movant asserts that this conduct definitively violates this Court’s

previous Orders and threatens the ability of Lead Counsel and the Court to oversee this MDL

litigation.



    4
    Plaintiffs Carmen Johnson, Amy Keller, Sara Loveless, and Sarah Osgood (collectively, the
“Johnson Plaintiffs”).
    5
      All Exhibits cited herein are attached to the Declaration of Kristen A. Johnson concurrently
filed herewith.



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       The Johnson Action arises out of the exact same MOVEit data breach at issue in every case

currently pending in this MDL, wherein unauthorized third-party criminals accessed and stole

highly sensitive consumer data via a security vulnerability in Progress Software Corporation’s

MOVEit software program (the “Data Incident”). See Proposed Paycom Settlement ¶¶ 1-3; see

also id. ¶ 13(r) (defining “Data Incident”). The proposed Paycom Settlement on its face attempts

to “compromise claims asserted in the MDL.” See MDL Order No. 10. In particular, the Paycom

Settlement purports to release, inter alia, claims against Paycom, Paycom’s Customers, Paycom’s

affiliates, and Paycom’s providers—i.e., claims pending in this MDL, and claims over which this

Court has given Lead Counsel exclusive settlement authority. Id.6

       Tellingly, this is not the first time that Orrick and Federman have sought to effectuate a

state court settlement that could release claims asserted in this MDL. Orrick and Federman

previously entered into a Maryland state court settlement of claims related to the MOVEit data

breach that were asserted against defendants Johns Hopkins Health Systems and Johns Hopkins

University (collectively “Hopkins”). See Turner v. The Johns Hopkins Health Sys. Corp., No. 24-


   6
      As discussed herein, the terms of the Paycom Settlement broadly release claims regarding the
MOVEit “Data Incident” that any member of the Paycom nationwide “Settlement Class” has
against Paycom and all of its “affiliates” and “providers” which could arguably include Progress,
who provided Paycom with the MOVEit file transfer application. See Settlement Agreement ¶ 13
(oo), (pp), and (tt). Notwithstanding the explicit terms contained in the Settlement Agreement, the
proposed class notice filed with Mr. Federman’s preliminary approval papers includes a limitation
regarding the scope of the settlement release that does not appear in, and seemingly contradicts,
the plain language of the Settlement Agreement. See Johnson Mot. for Prelim. Approval, p. 97.
Lead Counsel asked Orrick about this contradiction during an August 8, 2024 meet-and-confer.
Orrick stated that the Settlement Agreement language is overbroad because it was taken from an
unrelated settlement, but the additional language in the notice reflects their intent that the release
be limited only to Paycom. Lead Counsel pointed out that under rules of contract interpretation,
the release contained in the four corners of the Settlement Agreement is controlling, and that parties
who were not involved in the settlement, such as Progress, could seek to have it enforced as written.
Orrick and Mr. Federman offered to consider revising the scope of the release in the Settlement
Agreement, but they refused to stay or withdraw their pending preliminary approval motion,
making this motion necessary.



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C-23-002783 (Md. Cir. Ct.) (“Turner”). This Court refrained from enjoining the Turner settlement

because the settlement agreement there was purportedly fully executed on January 27, 2024, before

the March 28, 2024 effective date of MDL Order No. 10. See Exhibit 7, Transcript of April 24,

2024 Status Conference, pp. 34 & 39-40 (ECF No. 876) (the “April 24 Transcript”). The Court

cautioned, however, that going forward, MDL Order No. 10 required that future settlements of

MDL claims proceed only through Lead Counsel and this Court. Orrick’s counsel explicitly

confirmed that its clients understood these ground rules. Id. p. 41. Undeterred by this Court’s clear

Order, however, Orrick and Mr. Federman again seek state court approval of a dubious settlement

that arguably resolves pending MDL claims without Lead Counsel or Court involvement.

         Plaintiffs seek Court intervention to prevent Orrick and Mr. Federman from effectuating a

“reverse auction” settlement that could undermine these MDL proceedings. Put simply, after

failing to timely disclose the Johnson Action (in violation of MDL Order Nos. 3 and 4), Orrick

and Mr. Federman are engaging in bad-faith procedural gamesmanship in hopes of settling the

Johnson Action outside the purview of this MDL, again in direct violation of this Court’s MDL

Order No. 10. Movant and Lead Counsel ask this Court to issue an order to show cause to Paycom,

Paycom’s counsel, and Mr. Federman to have them account for conduct.7

             II.     RELEVANT FACTS AND PROCEDURAL BACKGROUND

A.       The Johnson Action

         Between August 2023 and May 2024, various plaintiffs filed putative class actions against

Paycom (some also naming Progress) in state and federal courts, including the United States




     7
      While Lead Counsel oppose allowing Mr. Federman (or any other attorney) to enter into a
settlement in federal or state court that would resolve claims pending in this MDL, Lead Counsel
do not oppose Mr. Federman entering into a settlement agreement with Paycom on behalf of his
own individually represented client(s).



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District Court for the District of Massachusetts,8 asserting claims related to the MOVEit data

breach. Pursuant to 28 U.S.C. § 1407, at least one of these related actions was transferred to MDL

No. 3083—In re MOVEit Customer Data Security Breach Litigation (the “MOVEit MDL”).9

        On August 8, 2023, Plaintiff Sara Loveless (on behalf of herself and her minor children)

filed Loveless, et al. v. Paycom Payroll, LLC, No. CJ-2023-4385 (Dist. Ct. Okla. Cnty. Aug. 8,

2023) (the “Loveless Action”). On August 22, 2023, the Johnson Action was filed. The Loveless

Action and the Johnson Action both arise from the MOVEit Data Breach (see Johnson Mot. for

Prelim. Approval at 2), and the day after filing the Johnson Action complaint (August 23, 2023),

Mr. Federman filed an Unopposed Motion to Consolidate Related Actions and Appoint Interim

Class Counsel in the Loveless Action. The Loveless Action was subsequently dismissed without

prejudice on January 17, 2024, and on the same day, a First Amended Class Action Petition was

filed in the Johnson Action on behalf of named plaintiffs in the Loveless and Johnson Actions and

on behalf of “approximately 7,449” putative class members. See Johnson v. Paycom Payroll, LLC,

No. CJ-2023-4763 (Dist. Ct. Okla. Cnty. Jan. 17, 2024), Exhibit 5 (First Amended Class Action

Petition).10 Notably, the Johnson Plaintiffs recently filed a Second Amended Class Action Petition


   8
    See Kearns v. Progress Software Corp., No. 1:24-cv-11368-ADB (D. Mass.) (filed May 23,
2024).
   9
      On October 4, 2023, the Judicial Panel on Multidistrict Litigation (the “Panel”) created this
MDL litigation when it entered a Transfer Order (ECF No. 2) (“Transfer Order”) establishing In
Re: MOVEit Customer Data Security Breach Litigation as MDL No. 3083. See Transfer Order
(Exhibit 3) at 5. The Panel explained that “centralization of [the MOVEit data breach] actions in
the District of Massachusetts will serve the convenience of the parties and witnesses and promote
the just and efficient conduct of the litigation.” See id at 2. See also ECF No. 792 (Exhibit 4) at 2
n.3 (The Panel “created a single, multi-defendant docket including all actions involving the
MOVEit data breach—regardless of defendant named in each action.”).
   10
      See Johnson Mot. for Prelim. Approval at 3 (“The defined nationwide class in the First
Amended Class Action Petition in the Johnson Action was ‘[a]ll persons residing in the United
States who received a letter from Paycom informing them that their PII may have been
compromised in the Data Breach in or around May 2023 through June 2023,’ with an Oklahoma
subclass defined as ‘[a]ll persons residing in the State of Oklahoma who received a letter from



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on July 2, 2024, Exhibit 6, recognizing that the number of Paycom customers affected by the

MOVEit data breach was greater than originally believed. See Settlement Agreement ¶ 6

(explaining reasons for revising class definition to expand class from 7,449 to 21,000). See also

Exhibit 6, ¶ 187.

          According to the Settling Parties, after purportedly engaging in “arm’s-length settlement

negotiations,” “[t]he Parties [reached] an agreement in principle to resolve the [Johnson] Action

in June 2024.” Johnson Mot. for Prelim. Approval at 3. The Settlement Agreement was then

finalized on July 3, 2024—3 months and 5 days after MDL Order No. 10 became effective. Mr.

Federman then filed the unopposed Motion for Preliminary Approval of the Proposed Paycom

Settlement in Oklahoma state court on July 12, 2024. Importantly, Lead Counsel were not apprised

of the negotiations or the Settlement Agreement until after the preliminary approval motion was

filed in state court. To date, the Oklahoma state court has not taken any action on the motion.

B.        The MOVEit MDL

          Movant Kearns filed a federal action against Paycom and Progress in the District of

Massachusetts in May, 2024. See Kearns Action. The Kearns Action was subsequently transferred

to this MDL and related Paycom cases continue to be transferred under 28 U.S.C. § 1407 to this

MDL for inclusion in the coordinated and consolidated pretrial proceedings. The key fact is that

the Johnson and Kearns Actions involve the same MOVEit file transfer software data breach that

is at issue in every other case that has been transferred to the MDL.11 Indeed, the Settling Parties

acknowledge that “[i]n the [Johnson Action], all members of the proposed class assert that their


Paycom informing them that their PII may have been compromised in the Data Breach occurring
in or around May 2023 through June 2023.’”).
     11
       See Johnson Mot. for Prelim. Approval at 2 (“Between May 28, 2023 through June 2, 2023,
Paycom’s servers were accessed by unauthorized attackers in connection with a vulnerability in a
file transfer platform Paycom utilized.”) (internal citation omitted).



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PII was compromised as a result of the [MOVEit Data Breach].” See Johnson Mot. for Prelim.

Approval at 16.

C.        MOVEit MDL Leadership & Settlement Authority

          This Court has repeatedly ordered counsel to advise the Court of all related cases, including

cases pending in state court. Yet, for months, Orrick and Mr. Federman failed to comply with those

Orders.12 On October 30, 2023—more than two months after the Johnson and Loveless Actions

were commenced in Oklahoma state court—this Court ordered all counsel to provide a detailed

report, including, among other things, “[a] spreadsheet identifying each individual case and

counsel that have appeared in each case.” MDL Order No. 3, ¶ 2; see also id. ¶ 11 (directing

counsel to advise the MDL Court “[w]hether related actions have been filed or are expected to be

filed in other courts[.]”). On December 1, 2023—more than three months after the Johnson Action

was commenced and nearly four months after Mr. Federman filed the Loveless Action in

Oklahoma state court—this Court directed “[e]ach Plaintiff’s counsel who seeks a leadership

position in [the MOVEit MDL]” to file an application that “must [. . . ] [c]ontain an Appendix A

that provides a list or chart of all state and federal MOVEit cases in which the attorney appears

as counsel.” MDL Order No. 4, ¶ 3 (emphasis added).13

          Mr. Federman submitted three applications for appointment to leadership, pursuant to the

MDL Court’s Orders. See ECF Nos. 211 and 211-1, 463, and 466 and 466-1. None were granted.

See ECF No. 649 (“MDL Order No. 8,” appointing Plaintiff Leadership for the MOVEit MDL).


     12
      See ECF No. 168-1 (November 22, 2023) (cases filed against Paycom in Oklahoma state
court are not included on List of State Court Cases for Coordination).
     13
      See also id. (“State cases shall be provided separately from federal cases, and the description
of the state cases shall include the court in which the case is pending, the court file number, the
name of the presiding judge, and the presiding judge’s telephone number and email (if known).”).
As noted above, it wasn’t until April 24, 2024, that the MDL leadership became aware of and
disclosed the Johnson Action to the Court. See ECF No. 873-1 (listing related state court cases).



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Nowhere in Mr. Federman’s leadership application papers did he ever advise the MDL Court of

the Johnson or Loveless Actions, despite explicit instructions to do so.

        On January 19, 2024—two days after Mr. Federman filed the First Amended Class Action

Petition in the Johnson Action—this Court appointed Lead Counsel in the MOVEit MDL. See

MDL Order No. 8. On February 2, 2024, Lead Counsel submitted a proposed order designating

the responsibilities of Lead Counsel, including providing Lead Counsel with the exclusive

authority to negotiate settlements. See ECF No. 715-2 (Proposed MDL Order). Ostensibly

recognizing that the proposed order would terminate his ability to negotiate settlements and obtain

fees in his state-court actions, Mr. Federman filed objections to the proposed order on February 8,

2024 (ECF No. 720). In particular, Mr. Federman objected explicitly to the proposal that Lead

Counsel would be vested with “sole authority” to settle all cases against all defendants in the MDL.

Id. at 4.

        Mr. Federman argued in his objections to the MDL leadership proposal that the MDL Court

should “leave [] already established leadership structures intact for those cases that have already

had interim leadership appointed[.]” Id. at 2. While Mr. Federman advised the MDL Court that he

had been appointed to interim leadership in two other actions subsequently transferred to the

MOVEit MDL (see id. at 1), he again failed to disclose the Johnson Action. Mr. Federman also

specifically objected to Lead Counsel’s proposed settlement authority, arguing that Lead Counsel

“should only have the authority to settle claims against Progress Software Corporation or Ipswitch,

Inc. in federal court[.]” Id. at 3-4. Mr. Federman objected to Lead Counsel’s “sole authority to

settle cases pending in state courts” (id. at 4 n.4), using a “hypothetical” circumstance where “an

attorney, particularly one in a state court action, other than [Lead Counsel] negotiated a settlement




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with a consumer facing Defendant who merely used MOVEit [i.e., Paycom].” Id. at 5.14 Lead

Counsel responded to these objections (ECF No. 741) which were discussed during a status

conference on March 13, 2024. Rejecting Mr. Federman’s objections, this Court granted Lead

Counsel exclusive settlement authority in MDL Order No. 10.

                  III.    THE MARYLAND TURNER LITIGATION AND
                           THE EFFECT OF MDL ORDER NO. 10

        Despite their knowledge of MDL Order No. 10, Mr. Federman and Orrick never disclosed

to Lead Counsel, the JPML, or the Court the existence of the Turner Action that Mr. Federman

filed in Maryland state court against Orrick’s Johns Hopkins clients alleging damages arising from

the MOVEit data breach. On April 4, 2024, Mr. Federman and Orrick filed a motion in Maryland

state court seeking preliminary approval of a nationwide settlement agreement in the Turner action

that purported to release claims at issue in this MDL. Lead Counsel brought this issue to the

attention of the Court, and the matter was discussed at length during the Court’s April 24, 2024

status conference. See April 24 Transcript.

        In particular, the parties and the Court discussed whether MDL Order No. 10 requires that

settling state court actions involving claims that are at issue in this MDL must include the

involvement of Lead Counsel. The Court acknowledged the legitimacy of Lead Counsel’s concerns

that allowing state settlements without Lead Counsel’s (or this Court’s) oversight could encourage

a reverse auction and undermine the MDL process.15 Nevertheless, the Court allowed the Turner



   14
      Even more damning is combining Mr. Feldman’s “hypothetical” with the fact that, according
to Mr. Federman, he began settlement negotiations with counsel for Paycom in the Johnson Action
around the same time he lodged the foregoing objections with this Court. Compare Johnson Mot.
for Prelim. Approval at 3 (stating that settlement negotiations began in February 2024), with ECF
No. 720 at 2 (filed February 8, 2024).
   15
      At the April 24th hearing, Lead Counsel made clear his concern that unsupervised state court
settlements present a danger to the efficient resolution of this MDL:



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settlement to move forward without Lead Counsel’s involvement because of the unique

circumstances of that settlement; to-wit: that the Turner settlement was fully executed before the

effective date of MDL Order No. 10. Nevertheless, the Court made clear that, in light of MDL

Order No. 10, it could step in to prevent future abuses of its Order:

       MR. LYNCH: … I’m worried about a floodgate here more than anything else. This
       isn’t going to be a one-off, I can assure you. If a defendant can say, Well, there’s a
       case in state court. There’s plaintiffs’ counsel there that looks a little desperate in
       their eyes, and I’m going to approach them. It’s not a reverse [auction], but I’m just
       going to deal with counsel that knows full well they’re not in a position to litigate
       the case because it’s being litigated in federal court.

       DISTRICT JUDGE BURROUGHS: Bring that one back and we’ll deal with that
       one. The timing issue, [Johns Hopkins’ Orrick counsel] has represented that his was
       the last signature on it, and it happened before we issued [MDL Order No. 10].

See April 24 Transcript at 39.

       At that same hearing, Orrick made clear to the Court and to Lead Counsel that defense

counsel understood that, going forward, it was unambiguously clear that any future state court

settlements that were executed after the effective date of MDL Order No. 10 would have to go

through Lead Counsel and would have to be handled by the MDL Court:

       [Orrick attorney] MR. SWAMINATHAN: … This group of joint defense lawyers
       all have seen the MDL Order number 10. That is now the rule in this case. So any
       case that needs to be settled has to go through [Lead Counsel] . . . I want you to
       know we all understand what MDL order 10 means.

April 24 Transcript at 40-41 (emphasis added).

       MR. SWAMINATHAN: I just think Your Honor’s order has been clear, MDL
       number 10. I think it’s really clear what we’re supposed to do now. I don’t think
       the fear that is being raised is going to happen because you’ve entered an order that



      MR. LYNCH: … The danger here is real. This is fundamental. If we allow defendants
      to effectively choose the plaintiff’s counsel for the class that they’re trying to resolve,
      the MDL will fall apart. Our role will fall apart. Your role under Rule 23 to protect
      absent class members will be completely thwarted.
April 24 Transcript at 30.



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       specifically directs that any settlement that affects any case, regardless of where it
       is, has to be through this group of plaintiffs’ lawyers.

Id. at 40-41, 45 (emphasis added).

       The Court also indicated that it understood MDL Order No. 10 to be clear and unambiguous

and that, despite allowing for the Turner settlement to move ahead, the Court would not tolerate

attorneys (and particularly Mr. Federman) trying to evade the Court’s jurisdiction by negotiating

state level settlements:

       DISTRICT JUDGE BURROUGHS: … I think we all understand how [MDL Order
       No. 10] is supposed to work. And if Mr. Federman keeps trying to do this as the
       circumstances of these cases change, … if he keeps trying to sneak things under the
       wire, we’ll deal with him, and we’ll deal with the cases.

Id. at 41. The Court concluded the April 24th hearing by emphasizing to Lead Counsel that, going

forward, it would not allow attorneys (including Mr. Federman) to game the MDL by negotiating

state settlements that impinge on MDL claims without the involvement of Lead Counsel:

       DISTRICT JUDGE BURROUGHS: Mr. Lynch, we’re cognizant of your concerns.
       We are on it. [Orrick attorney Swaminathan] told me nobody has negotiated with
       Mr. Federman or anybody else to [settle] off these state court enclaves or whatever
       you want to call it. We’re on it. We’ll watch it. We’ll take care of it.

Id. at 46. Unfortunately, it is now time for the Court to “deal” with Mr. Federman, Orrick, and

the case.

            IV.    ORRICK, FEDERMAN, AND THE PAYCOM SETTLEMENT

       Despite all of the previous assurances that Paycom’s defense counsel (Orrick), provided to

the Court and Lead Counsel, and despite all the Court’s cautions about how MDL Order No. 10

would prevent future clandestine state-court settlements, the very same firms at issue in Turner

(Orrick and Mr. Federman’s) are trying to “sneak [another state settlement] under the wire” by

getting a state court to approve a dubious settlement that releases a national class involving claims

and parties present in this MDL—without involving Lead Counsel or this Court.




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       The Johnson settlement was not finalized until July 3, 2024—3 months and 5 days after

MDL Order No. 10 became effective. During those 97 days, Orrick and Federman never advised

Lead Counsel or this Court that they again were involved in the process of negotiating a secret

settlement that would seek to compromise claims asserted in this MDL. After learning of the

Johnson Settlement, Lead Counsel Charles Schaffer asked Paycom’s Orrick attorney (Whitney-

Ann Mulhauser) to explain how Orrick could justify entering into the proposed settlement without

the participation of Lead Counsel after the effective date of MDL Order No. 10. Orrick’s attorney

offered a new and novel interpretation of MDL Order No. 10:

       Charlie, We do not believe that MDL Order No. 10 applies here because it does not,
       by its terms, reach state court actions such as this, particularly where there is no
       basis to remove the state court action to federal court. . . . The April 24, 2024
       transcript of the status conference before Judge Burroughs strongly suggests that
       she did not intend for MDL Order No. 10 to apply in this context.

Exhibit 8, July 15, 2024 e-mail from Whitney-Ann Mulhauser to Charles Schaffer.

       Orrick’s bizarre interpretation of MDL Order No. 10 is totally at odds with not only its text

but this Court’s April 24th admonitions. MDL Order No. 10 unambiguously requires that, as of its

effective date (March 28, 2024), “Lead Counsel, via the Settlement Committee shall oversee and

conduct any settlement discussions with any Defendant seeking to compromise claims asserted

in the MDL . . . whether taking place in the MDL or elsewhere.” MDL Order No. 10 ¶ 5(a)

(emphasis added)). Accordingly, the touchstone for when MDL Order No. 10 requires Lead

Counsel settlement oversight is when a settlement compromises claims regarding the MOVEit

breach asserted in the MDL, regardless of where the action itself is taking place. In fact, the

remarkable claim that MDL Order No. 10 is somehow inapplicable to state court proceedings was

previously raised to this Court by Mr. Federman himself and explicitly rejected by the Court at the

time it entered MDL Order No. 10. By the time of the April 24th hearing, it was clear that by its

own terms that MDL Order No. 10 applies to any settlement that purports to compromise MDL



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claims whether the underlying action is pending in state or federal court. Not only did this Court

make clear that it would “deal” with Mr. Federman if “he keeps trying to sneak things under the

wire” (which could only happen in state court cases not part of this MDL), Orrick counsel’s

statements at the April 24th hearing make plain that this was Orrick’s unambiguous understanding

as well.

                                        V.     ARGUMENT

          This Court is empowered to protect its orders and jurisdiction by requiring Paycom, Orrick,

and Mr. Federman to explain their apparent non-compliance with MDL Order Nos. 3, 4 and 10.16

A.        This Court is Vested with the Authority to Manage the MOVEit MDL

          MDLs promote efficiency and justice in the management of multiple civil cases that share

common questions of fact. DeLaventura v. Columbia Acorn Tr., 417 F. Supp. 2d 147, 148 (D.

Mass. 2006). The central objectives of an MDL are to facilitate discovery, avoid redundancy,

prevent inconsistent pretrial rulings, and conserve judicial resources. In re Lupron Mktg. & Sales

Pracs. Litig., 228 F.R.D. 75, 83 (D. Mass. 2005) (citing Manual for Complex Litigation § 20.312

(4th ed. 2004) (“Manual”)). As part of the MDL court’s ability to manage litigation and promote

efficiency, it is vested with the authority to appoint plaintiffs’ leadership. Manual

§ 21.272 (“The judge must choose the class counsel when more than one class action has been

filed and consolidated or centralized, or more than one lawyer seeks the appointment.”);

2 Newberg and Rubenstein on Class Actions § 6:46 (6th ed. 2022) (“In running the MDL, the

MDL judge creates a lawyering structure among the many lawyers involved in the case.”); see also

In re Vioxx Prods. Liab. Litig., 802 F. Supp. 2d 740, 770 (E.D. La. 2011) (“[A] court’s power to




     16
      Movant reserves all rights to seek additional relief, as well, from Orrick’s and Mr.
Federman’s blatant disregard of this Court’s Orders.



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consolidate and manage litigation necessarily implies a corollary authority to appoint lead or

liaison counsel and to compensate them for their work.”) (citing cases). The Court appropriately

used that authority here.

B.      Lead Counsel Have Full Settlement Authority in the MOVEit MDL

        By entering MDL Order No. 10, this Court adopted the common (and necessary) practice

of vesting MDL leadership with the authority to conduct settlement negotiations on behalf of all

cases and claims that are in the MDL or arise out of the same context. See, e.g., In re Volkswagen

“Clean Diesel” Mktg., Sales Pracs.,& Prods. Liab. Litig., 914 F.3d 623, 647 n.12 (9th Cir. 2019)

(holding that a “transferee judge exercises all the powers of a district judge in the transferee district

under the Federal Rules of Civil Procedure, which includes authority to decide all pretrial motions,

including. . . motions for judgment pursuant to a settlement.”) (cleaned up); In re Nat’l Football

League Players Concussion Injury Litig., 961 F. Supp. 2d 708, 710 (E.D. Pa. 2014) (noting, “[a]s

the transferee judge, I exercise authority over any coordinated or consolidated pretrial proceedings,

including settlement proceedings.”); In re Urethane Antitrust Litig., 2006 WL 270987, at *2 (D.

Kan. Sept. 20, 2006) (finding that, although the court “has no jurisdiction to conduct a trial,” it has

jurisdiction to consider the fairness of a proposed settlement); In re Air Crash Disaster at Stapleton

Int’l Airport, Denver Colo., on Nov. 15, 1987, 720 F. Supp. 1433, 1435 (D. Colo. 1998) (finding

that Rule 16 gives a transferee court the inherent authority to order pretrial activities, including

settlement conferences on individual cases transferred to the court, where it would advance the

goals of efficiency and expediency); In re Bank of Am. Wage & Hour Emp. Litig., 740 F. Supp. 2d

1207, 1217 (D. Kan. 2010) (MDL court entered a pretrial order directing that “discussions of a

settlement ‘that would affect any claims brought in this litigation’ must be conducted by plaintiffs’

lead counsel and that any settlement resolving any portion of the claims brought in this case must

be approved by this court.”).



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        The Manual specifically encourages coordinating settlement of related federal and state

cases, instructing that:

        One of the values of multidistrict proceedings is that they bring before a single
        judge all of the federal cases, parties, and counsel comprising the litigation. They
        therefore afford a unique opportunity for the negotiation of a global settlement. Few
        cases are remanded for trial; most multidistrict litigation is settled in the transferee
        court. As a transferee judge, it is advisable to make the most of this opportunity and
        facilitate the settlement of the federal and any related state cases.

Manual § 20.132.

        It is precisely for the reasons set out herein (i.e., that counsel in current or future tag-along

cases may try to settle related and overlapping cases outside of the purview of the MDL, which

creates incentives for reverse auctions) that this Court entered MDL Order No. 10, ensuring that

Lead Counsel are empowered to oversee any settlement efforts involving overlapping cases,

claims, and defendants that are (or, as explained below, should be) before this Court. Orrick and

Mr. Federman have decided to try to sneak in another state court settlement without involving Lead

Counsel or this Court, despite the Court making explicitly clear that MDL Order No. 10

specifically prohibits exactly this type of conduct.

C.      This Court has the Authority to Order Lead Counsel Oversee Settlements of State
        Court Actions that Resolve MDL Claims

        This Court has express authority under federal law to protect its jurisdiction and enforce

its own orders—including MDL Order No. 10, which vested Lead Counsel with the sole authority

to negotiate settlement of claims at issue in this MDL. Under the All Writs Act, courts “may issue

all writs necessary or appropriate in aid of their respective jurisdictions[.]” 28 U.S.C. § 1651. The

JPML ordered that this Court is charged with the coordination and pretrial proceedings of cases

regarding the MOVEit Data Breach. See ECF No. 2 (MDL Transfer Order) at 2-3. In accord with

this authority, as noted above, this Court ordered that Lead Counsel have sole responsibility for all

settlement negotiations regarding claims consolidated in this MDL, and that this Court would have



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jurisdiction to approve the settlement of any claims in the MDL. See ECF No. 834 (MDL Order

No. 10).

       This Court also has the authority to police attempts by parties to the MDL (including their

counsel) to evade the MDL by entering into settlements in federal or state court that would impair

the ability of this Court to manage this proceeding. The All Writs Act has been used to enjoin

settlement efforts when a party attempts to circumvent an MDL court’s jurisdiction by parsing out

claims for settlement. See, e.g., In re Bank of Am. Wage & Hour Emp. Litig., 740 F. Supp. 2d at

1213 (noting that “the All Writs Act has generally been used to either prohibit activities in a state

court proceeding that threaten to undermine. . . the enjoining federal court, or to block settlement

efforts in a state court proceeding when a party was deliberately using the state court forum to

circumvent . . . the enjoining federal court”); In re Managed Care Litig., 236 F. Supp. 2d 1336,

1340 (S.D. Fla. 2002) (Federal court can “enter an injunction which would have preclusive effect

on a state court's action, where the possibility existed that the defendants would attempt to reach

an inadequate or collusive settlement in the state court proceeding and ‘settle on the cheap.’”). See

also In re Vioxx Prods. Liab. Litig., 869 F. Supp. 2d 719, 726 (E.D. La. 2012) (listing cases where

MDL court enjoined state court proceedings); Atl. Coast Line R. Co. v. Bhd. of Locomotive Eng’rs,

398 U.S. 281, 295 (1970) (“some federal injunctive relief may be necessary to prevent a state court

from so interfering with a federal court's consideration or disposition of a case as to seriously

impair the federal court's flexibility and authority to decide that case”).

       Bank of America is highly instructive. In that case, the JPML transferred and consolidated

various related lawsuits to the District of Kansas for consolidated proceedings. 740 F. Supp. 2d at

1208. After consolidation, the MDL court and plaintiffs’ court-appointed lead counsel in the MDL

learned that a defendant in the MDL proceeding was seeking to effectuate a class action settlement




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in the United States District Court for the District of California. Id. at 1209. Upon emergency

motion, the MDL court relied on the All Writs Act to enjoin the defendants from moving forward

with the proposed settlement “until [defendant Bank of America] disclosed [the potential tag-along

action] to the JPML and allowed the JPML to determine in the first instance whether [the potential

tag-along action] should be transferred to this District for consolidation with the cases pending

here.” Id. at 1219.

        Managed Care involved a similar issue, where parties before the MDL court attempted to

effectuate a settlement of claims that were part of an MDL pending in the Southern District of

Florida by way of a separate potential tag-along proceeding in the Southern District of Illinois. In

that case, the MDL court also relied on the All Writs Act to enjoin defendant CIGNA, its attorneys,

and “any party acting in concert with CIGNA from proceeding in any manner with the proposed

settlement . . . without the express approval of this court[.]” 236 F. Supp. 2d at 1345. In reaching

its decision, the Managed Care court reasoned:

       In order to follow the JPML’s mandate, an injunction preventing CIGNA from
       proceeding with the settlement is necessary from the standpoint of the proper
       administration of justice. This injunction should not be interpreted as any indication
       of whether the settlement is indeed a fair one, but simply as to which judge has been
       vested with the authority to render that decision.

Id. at 1343 (emphasis in original). The Court went on to conclude that:

       The JPML has ordered that all cases relating to the improper payment to physicians
       be consolidated in this Court pursuant to § 1407. To allow another federal court
       sitting in another Circuit to settle this entire action against one of the Defendants in
       the consolidated proceeding would effectively render the JPML’s decisions and
       existence moot. This cannot be the correct interpretation of the law.

Id. at 1345.

       Because the proposed Paycom Settlement seeks to release claims on behalf of a national

settlement class that overlap with the claims at issue in this MDL, this Court is authorized to take

action pursuant both to the All Writs Act and its inherent authority to enforce its own Orders and,



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at a minimum, should order Paycom, Orrick and Mr. Federman to explain why they are not in

violation of MDL Order Nos. 3, 4 and 10.17 Failure to act may unfairly prejudice the MDL

Plaintiffs and putative Classes and could undermine this Court’s jurisdiction and the orderly

process of the MDL proceedings, the same interests that this Court sought to protect when it

entered MDL Order No. 10.

        1.     The Court should act to protect its jurisdiction and the JPML process.

        As explained by the Court in Managed Care, to allow a defendant to settle claims outside

the MDL process when the JPML has already consolidated related cases would render the MDL

process moot. 236 F. Supp. 2d at 1345. Settlement of claims outside the MDL is especially

egregious where, as here, the parties who negotiated the proposed Paycom Settlement have

participated in the MDL litigation while simultaneously seeking to surreptitiously push through a

settlement that may extinguish claims at issue in this MDL proceeding. Allowing Paycom, Orrick,

and Mr. Federman to separately settle and release claims that are a part of this consolidated action

would offend all notions of justice. Such “maneuvers to avoid a[n] MDL Court’s jurisdiction,”

should not and cannot be tolerated. Id. at 1340.

        “Under Rule 23(e), the district court acts as a fiduciary who must serve as a guardian of

the rights of absent class members.” Grunin v. Int’l House of Pancakes, 513 F.2d 114, 123 (8th

Cir. 1975); see also Percodani v. Riker-Maxon Corp., 50 F.R.D. 473, 478 (S.D.N.Y. 1970), aff’d

sub nom., Farber v. Riker-Maxon Corp., 442 F.2d 457 (2d Cir. 1971). This requires the Court to



   17
       The Court is empowered to take additional corrective action if necessary. For example, if
the Court determines that Paycom, Orrick, and Mr. Federman acted in violation of its Orders and
that their conduct threatens the ability of the Court to oversee this MDL litigation, the Court is
empowered to confer with the District Court for Oklahoma County and request that court to hold
the proposed Paycom Settlement in abeyance while the Court determines what (if any) corrective
action may be necessary.



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“exercise its independent judgment to protect the interests of class absentees,” In re Traffic

Executive Association–Eastern Railroads, 627 F.2d 631, 634 (2d Cir. 1980), and to faithfully

discharge its “duty” to “exercise control over [the] class action and to enter appropriate orders

governing the conduct of counsel and parties.” Gulf Oil v. Bernard, 452 U.S. 89, 100 (1981); see

also Scheffer v. Civil Serv. Emps. Ass’n, Local 828, 2006 WL 7066914, at *7 (W.D.N.Y. Oct. 24,

2006) (holding that “district court acts as fiduciary who must serve as guardian of rights of absent

class members even prior to certification”); Runion v. U.S. Shelter, 98 F.R.D. 313, 318 (D.S.C.

1983) (“Although no class has been certified, this court accepts its fiduciary responsibilities at this

stage of the litigation. Absent class members have substantial due process rights that are being

affected . . . even though a class has not been certified.”).

         Similarly, under Fed. R. Civ. P. 23(e), this Court is obligated to “protect[] unnamed class

members from unjust or unfair settlements affecting their rights.” Amchem Prods., Inc. v. Windsor,

521 U.S. 591, 623 (1997) (citation omitted). This “responsibility,” however, is “difficult to

discharge when the judge confronts a phalanx of colluding counsel.” Thorogood v. Sears, Roebuck

& Co., 547 F.3d 742, 745 (7th Cir. 2008).

         2.     Plaintiffs may suffer irreparable harm if the Paycom Settlement is allowed to
                Settle MDL Claims Without Lead Counsel and/or Court Oversight.

         Aside from other problems with the proposed Paycom Settlement (including that it has all

the hallmarks of a “reverse auction”), the terms of the proposed Paycom Settlement Agreement as

written appear to be significantly overbroad in various respects, including the potential release of

claims against Progress, one of Paycom’s “providers.” See Paycom Settlement Agreement ¶ 13(pp)

(including Paycom’s “providers” as “Released Parties”).18          Thus, because “[t]he [Proposed



    18
       As noted in footnote 6, supra, the proposed notice includes a limitation regarding the scope
of the settlement release that does not appear in the text of the Settlement Agreement itself, creating



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Paycom Settlement], if approved, will resolve the claims asserted by Plaintiffs and . . . Settlement

Class Members whose personally identifiable information (‘PII’) may have been compromised in

a data security incident occurring between May 28, 2023 and June 2, 2023” (see Johnson Mot. for

Prelim. Approval at 1-2) and because Movant and all other Plaintiffs in this MDL may be part of

the Proposed Paycom Settlement Class (see Proposed Paycom Settlement ¶ 13(tt) (defining the

Proposed Paycom Settlement Class as “all living individuals residing in the United States whose

personal information was accessed or acquired in the Data Incident”)), Movant’s and all other

MDL Plaintiffs’ claims against Paycom and Progress may be forever released and barred by the

Paycom Settlement. This is true even though: (a) Progress is not paying a dime for the release; (b)

only Paycom customers are receiving notice of the Proposed Paycom Settlement; and (c) the

Settlement provides less than one million dollars to Settlement Class Members. Movant and MDL

Plaintiffs will therefore suffer irreparable harm if the Court does not enforce its Order that this

Court has jurisdiction over settlement of claims related to the MDL.

                                     VI.     CONCLUSION

       For the foregoing reasons, Movant respectfully requests that this Court (1) issue an order

requiring Paycom, its Orrick attorneys and any other person acting in concert with Paycom

(including Mr. Federman) to show cause as to why they should not be found in violation of MDL

Order Nos. 3 and 4 for failing to notify the Court of the pending Johnson Action, and in violation

of MDL Order No. 10 for filing the proposed Paycom Settlement without prior notice to Lead

Counsel or this Court; and (2) take any additional curative actions that the Court finds necessary

if it determines that Paycom, Orrick, and Mr. Federman acted in violation of MDL Order No. 10.




uncertainty regarding what, if any, MDL claims would be released if the Paycom Settlement goes
forward as-is.



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Dated: August 9, 2024             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, the foregoing document was filed electronically via the

Court’s CM/ECF system, which will send notice of the filing to all counsel of record.



Dated: August 9, 2024                                 /s/ Kristen A. Johnson
                                                      Kristen A. Johnson




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